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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

TANIKA BEAULIEU,

                     Plaintiff,
                                                       No. 17-cv-05672
        v.
                                                       Honorable Rebecca R. Pallmeyer
NEWQUEST MANAGEMENT OF
ILLINOIS, LLC,                                         Magistrate Judge Daniel G. Martin

                     Defendant.


                      DEFENDANT’S RESPONSE TO PLAINTIFF’S
                  MOTION TO COMPEL PRODUCTION OF DOCUMENTS

                                   I.      PRELIMINARY STATEMENT

        Since discovery in this matter commenced, NewQuest has produced the following to

Plaintiff:

    •   1,111 pages of documents and emails that directly relate to Plaintiff’s claims against
        NewQuest, including: internal complaints of discrimination and retaliation lodged
        by Plaintiff and other employees; NewQuest’s responses to those complaints; emails
        addressing the internal handling of Plaintiff’s complaints about her supervisors;
        documents demonstrating Plaintiff’s performance during her employment with
        NewQuest; complaints concerning Plaintiff’s alleged harassment of her co-workers
        and NewQuest’s customers 1;
    •   112 pages of documents responsive to Plaintiff’s Requests.

NewQuest has not “wrongfully withheld information” from Plaintiff. Indeed, 15 business days

before Plaintiff filed her Motion to Compel, Plaintiff – after listening to an explanation of why

NewQuest objected to her Requests – agreed to narrow a number of her Requests, and withdraw

others. Counsel for NewQuest subsequently informed Plaintiff that NewQuest is willing to

1
  In her Motion to Compel, Plaintiff seems to claim that she has been unable to open the compact disc (“CD”)
NewQuest provided containing these emails. (Pl.’s Mot. to Compel at p. 3.) This is the first time Plaintiff has
raised this issue. If Plaintiff is unable to open the documents on the CD using the written instructions that
counsel for NewQuest provided when they sent the CD, counsel for NewQuest are happy to speak with
Plaintiff to provide any further instructions she may need.
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provide documents in response to the majority of her narrowed Requests, and NewQuest is

working on compiling its responses. (Ex. A, July 30 Letter at p. 3.) Yet, Plaintiff still chose to

file a Motion to Compel, in which she claims NewQuest “won’t turn over [] evidence” but

tellingly does not explain what “evidence” NewQuest has refused to turn over. 2

                                         II.     RESPONSE

        A.     NewQuest Is Not Withholding Information; NewQuest Objected To
               Plaintiff’s Initial Set Of Requests, But Agreed To Produce Information
               Following The Parties’ Meet-and-Confer That Took Place 15 Business Days
               Before Plaintiff Filed Her Motion to Compel.

        NewQuest was initially forced to object, and not respond, to 10 of Plaintiff’s 12 Requests

because they were overly broad. The Requests NewQuest objected to included:

    •   A request for all emails sent/received in a two-year period by all customer service
        representatives at the location in which Plaintiff was employed;
    •   A request for all [instant message] “chats” that were “opened or started” by any employee
        in the “Service dept” for a two year period at the location in which Plaintiff was
        employed (regardless of the issue discussed);
    •   A request for two years of video footage from inside the location at which Plaintiff was
        employed.

NewQuest anticipated that Plaintiff may view its legal objections to be an obstructionist tactic,

based on her unfamiliarity with the discovery process, and so counsel for NewQuest served

NewQuest’s responses with a written request for Plaintiff to provide her availability for a

telephone conference to discuss NewQuest’s objections. (Ex. B, July 6 Letter.) This led to the

parties engaging in a meet-and-confer on July 11, 2018, during which Plaintiff agreed to

significantly narrow the scope of eight Requests, and withdraw two.

        Following the meet-and-confer, counsel for NewQuest conferred with their client, and

informed Plaintiff that NewQuest is willing to respond to the majority of Plaintiff’s narrowed


2
 NewQuest expects to provide Plaintiff with its responses to her narrowed document production requests
within 14 days of this filing.

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Requests.       Since then, NewQuest has been working with its counsel to gather documents

responsive to Plaintiff’s Requests, and NewQuest expects to provide Plaintiff with responses to

her narrowed requests within 14 days of this filing.

           B.     NewQuest Has Not Delayed This Matter; NewQuest’s Responses To
                  Plaintiff’s Requests Were Timely, And NewQuest Has Already Produced
                  Over 1,200 Pages Of Relevant Information.

           Plaintiff’s contention that NewQuest has “tr[ied] to delay” this matter is belied by the

representations in her Motion. Exhibits B and C to Plaintiff’s Motion confirm that NewQuest

served its written responses to Plaintiff’s Requests on July 6, 2018; 30 days after Plaintiff served

them. (See Pl.’s Mot. to Compel, Exs. B and C at pp. 13, 19.) Furthermore, as explained above,

NewQuest has already produced over 1,100 pages of emails that directly relate to Plaintiff’s

claims, and another 112 pages of documents that Plaintiff explicitly requested. (Ex. C, July 23

Letter.)

           The extension of time that NewQuest requested was to the 40-day period in which

NewQuest was required to provide Plaintiff with ESI under the Court’s MIDP Standing Order

(Ex. D, July 2-3 Email Correspondence.) 3 As counsel for NewQuest tried to explain to Plaintiff,

the extensive number of allegations and individuals named in Plaintiff’s Amended Complaint

necessitated a comprehensive ESI search that required a significant time commitment. Notably,

in her communications with counsel for NewQuest, Plaintiff has conveyed that NewQuest’s ESI

production is not important to her. (See, e.g., Ex. E, July 21 Email Correspondence; see also Ex.

F, July 23 Email Correspondence.)




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  Pages 2 and 3 of Plaintiff’s Motion include a purported timeline of the parties’ communications over the past two
months regarding NewQuest’s responses to Plaintiff’s discovery requests. Plaintiff’s description is not accurate.
The exhibits to this Response provide an accurate chronology of the parties’ communications – and the substance of
those communications – in connection with Plaintiff’s discovery requests and her responses to NewQuest’s requests.


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       C.      NewQuest Continued Plaintiff’s July 31 Deposition Because NewQuest Is
               Still Waiting For Plaintiff To Complete Her Discovery Production.

       To the extent that Plaintiff is contending that NewQuest’s request to continue her July 31

deposition delayed this matter, her complaint is disingenuous. On July 9, 2018, counsel for

NewQuest sent Plaintiff a letter detailing the numerous deficiencies in her written discovery

responses and production. (Ex. G, July 9 Discovery Deficiency Letter.) During the parties’ July

11, 2018 meet-and-confer, counsel for NewQuest explained to Plaintiff that her deposition would

likely need to be continued as a result of these deficiencies, as NewQuest needed sufficient time

to review the supplemental documents and information that Plaintiff would provide in response

to NewQuest’s deficiency letter. (See, e.g., Ex. H, July 26 Email Correspondence.)

       On July 30, counsel for NewQuest sent Plaintiff a second letter, again requesting that she

supplement her discovery responses to provide all of the information requested by NewQuest.

(See Ex. A.) Notably, on July 31 (the date on which Plaintiff’s deposition was previously

scheduled), Plaintiff provided counsel for NewQuest with executed authorizations for NewQuest

to obtain medical records from two of her physicians. This is obviously information that counsel

for NewQuest needed in order to take Plaintiff’s deposition.

       At the time of filing this Response, Plaintiff’s discovery responses remain deficient. (Id.)

                                      III.    CONCLUSION

       For all of these reasons, Defendant requests that this Court deny Plaintiff’s Motion to

Compel.



                                [Signature follows on next page]




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Dated: August 6, 2018                        Respectfully submitted,
                                             NEWQUEST MANAGEMENT OF ILLINOIS, LLC

                                             /s/ Kwabena A. Appenteng
                                                         One of its attorneys


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                                   CERTIFICATE OF SERVICE

         Keemya Maghsoudi, an attorney, hereby certifies that on August 6, 2018, she caused a

copy of the foregoing Defendant’s Response to Plaintiff’s Motion to Compel Production of

Documents to be electronically filed with the Clerk of the U.S. District Court, Northern District

of Illinois, using the CM/ECF (electronic case filing) system, which sent notification via

electronic mail of such filing to the following ECF participant:

                                      Tanika Beaulieu
                                      1131 E. 165th Street
                                      South Holland, IL 60473
                                      tross@student.kcc.edu


                                                     /s/ Keemya Maghsoudi
                                                     One of the attorneys for Defendant




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